
51 So.3d 1257 (2011)
Douglas S. NELSON, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D10-3629.
District Court of Appeal of Florida, Fifth District.
January 21, 2011.
Douglas L. Nelson, Jasper, pro se.
No Appearance for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal from the order denying the rule 3.850 motion in Case Nos. 05-2006-CF-23014 and 05-2006-CF-68667, in the Circuit Court in and for Brevard County, Florida. See Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
SAWAYA, COHEN and JACOBUS, JJ., concur.
